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                    IN THE UNITED STATES DISTRICT COURT FOR T^l
                                                                                         aldcandwl
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


 UNITED STATES OF AMERICA

                                                        No. l:21-cr-77-CMH


 ANDREW ALEXANDER TEZNA
        a/k/a N.ANDREW TEZNA
        a/k/a NESTOR ANDRES TEZNA


         Defendant.



                                       PLEA AGREEMENT


       Raj Parekh, Acting United States Attorney for the Eastern District of Virginia;

undersigned counsel for the United States; the defendant, ANDREW ALEXANDER TEZNA;

and the defendant's counsel have entered into an agreement pursuant to Rule 11 ofthe Federal

Rules of Criminal Procedure. The terms ofthis Plea Agreement are as follows:

        1.     Offense and Maximum Penalties


        The defendant agrees to waive indictment and plead guilty to a single count Criminal

Information, charging the defendant with bank fraud, in violation of 18 U.S.C. § 1344(2). The

maximum penalties for this offense are: a maximum term of30 years ofimprisonment, a fine of

the greater of$1,000,000 or twice the gross gain or loss, full restitution, forfeiture of assets as

outlined below, a special assessment pursuant to 18 U.S.C § 3013, and a maximum supervised

release term of5 years. The defendant understands that any supervised release term is in

addition to any prison term the defendant may receive, and that a violation of a term of

supervised release could result in the defendant being returned to prison for the full term of

supervised release.
       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

Agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

constitutes a stipulation offacts for purposes of Section IB 1.2(c) ofthe Sentencing Guidelines.

       3.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attomey has rendered effective assistance.

The defendant understands that by entering into this Plea Agreement, defendant surrenders

certain rights as provided in this agreement. The defendant understands that the rights of

criminal defendants include the following:

                      a.      the right to plead not guilty and to persist in that plea;

                       b.     the right to a jury trial;

                      c.     the right to be represented by counsel—^and, if necessary, have the
                      court appoint counsel—^at trial and at every other stage ofthe proceedings;
                      and

                      d.      the right at trial to confront and cross-examine adverse witnesses,
                      to be protected from compelled self-incrimination, to testify and present
                      evidence, and to compel the attendance of witnesses.

       4.      Sentencing Guidelines,Recommendations,and Roles

       The defendant understands that the Court has Jurisdiction and authority to impose any

sentence within the statutory maximum described above, but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel, the United States, or the Probation Office, is a
prediction, not a promisCj and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

U.S. 220(2005),the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

States and the defendant stipulate and will recommend to the Court that the following provisions

ofthe Sentencing Guidelines apply:

        a.     The defendant's offense level (including relevant conduct under § IBl.3) is

               determined using § 2B1.1, and that the defendant's base offense level is 7.

        b.     The offense level is increased by 12 levels, pursuant to § 2B1.1(b)(1)(G), because

               the loss of$357,734 caused by the offenses exceeded $250,000, but did not

               exceed $550,000.

        c.     The United States and the defendant further agree that the defendant has assisted

               the government in the investigation and prosecution of the defendant's own

               misconduct by timely notifying authorities ofthe defendant's intention to enter a

               plea of guilty, thereby permitting the government to avoid preparing for trial and

               permitting the govemment and the Court to allocate their resources efficiently. If

               the defendant qualifies for a two-level decrease in offense level pursuant to

               U.S.S.G. § 3E1.1(a) and the offense level prior to the operation ofthat section is a

               level 16 or greater, the govemment agrees to file, pursuant to
               U.S.S.G. § 3El.l(b), a motion prior to, or at the time of, sentencing for an

               additional one-level decrease in the defendant's offense level.

       The United States agrees to not seek any other enhancements pursuant to the Sentencing

Guidelines. The United States and the defendant have not agreed on any further sentencing

issues, whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a),

other than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a

Guidelines provision does not limit the parties' arguments as to any other Guidelines provisions

or sentencing factors under Section 3553(a), including arguments for a sentence within or outside

the advisory Guidelines range found by the Court at sentencing.

       5.      Waiver of Appeal,FOIA,and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation

any records that may be sought under the Freedom of Information Act,5 U.S.C. § 552, or the

Privacy Act,5 U.S.C. § 552a.
       6.      Immunity from Further Prosecution in This District

The United States will not further criminally prosecute the defendant in the Eastern District of

Virginia for the specific conduct described in the Information or Statement of Facts. This Plea

Agreement and Statement of Facts does not confer on the defendant any immunity from

prosecution by any state government in the United States. The United States further agrees not

to prosecute the following individuals in the Eastern District of Virginia for any culpable role, if

any, they might have played in the events described in the Information or the Statement of Facts:

        1. T.T., the defendant's spouse

       2. B.I., the defendant's parent-in-law

In exchange for this immunity,the defendant agrees not to seek loan forgiveness, as it pertains to

the Paycheck Protection Program,for the loans obtained through this program as detailed in the

Statement of Facts and Information.


       7.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due

immediately and subject to immediate enforcement by the United States as provided for in

Section 3613. Within 14 days of a request, the defendant agrees to provide all ofthe defendant's

financial information to the United States and the Probation Office and, if requested, to

participate in a pre-sentencing debtor's examination and/or complete a financial statement under

penalty of perjury. If the Court imposes a schedule of payments,the defendant understands that

the schedule of payments is merely a minimum schedule of payments and not the only method,

nor a limitation on the methods, available to the United States to enforce thejudgment. Until all

monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program
so that any federal payment or transfer of returned property to the defendant will be offset and

applied to pay the defendant's unpaid monetary penalties. If the defendant is incarcerated, the

defendant agrees to participate voluntarily in the Bureau ofPrisons' Inmate Financial

Responsibility Program, regardless of whether the Court specifically directs participation or

imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

of all monetary penalties imposed by the Court.

       8.      Special Assessment

       Before sentencing in this case,the defendant agrees to pay a mandatory special

assessment of$100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

       9.      Restitution


       The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(l),

and the defendant agrees to the entry of a Restitution Order for the full amount ofthe victims'

losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further

agrees that an offense listed in Section 3663A(c)(l) gave rise to this Plea Agreement and, as

such, victims ofthe conduct described in the charging instrument. Statement of Facts, or any

related or similar conduct shall be entitled to restitution. Without limiting the amount of

restitution that the Court must impose,the parties agree that, at a minimum,the following

victims have suffered the losses identified below and are entitled to restitution:
 Victim Name and Address                                                       Restitution Amount

 Celtic Bank
 Attn: Compliance & Accounting
                                                                                          $246,884
 268 S. State Street, Suite 300

 Sonabank
 11A Main Street
                                                                                           $25,400
 Warrenton, VA 20186

 Virginia Employment Commission
 P.O. Box 27887
                                                                                           $15,950
 Richmond, VA 23261-7887

 TOTAL                                                                                    $288,234

       The defendant understands that forfeiture and restitution are separate and distinct

financial obligations that must be imposed upon a criminal defendant. The defendant further

understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and

18U.S.C. §3664(m).

       10.     Forfeiture Agreement

       The defendant understands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any fraud-related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly. This

includes any property that is traceable to, derived from,fungible with, or a substitute for the

following: property that constitutes the proceeds ofthe offense.

       The defendant understands that ifthe assets subject to forfeiture are not available to the

United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of

the unavailable assets. United States v. Blackman, 746 F.3d 137(4th Cir. 2014). The defendant

acknowledges that as a result of defendant's acts or omissions,the actual proceeds the defendant

obtained as a result ofthe offense ($288,234) are not available and the defendant stipulates that

one or more ofthe factors listed at 21 U.S.C. § 853(p)(l) are present in this case. The United
States agrees to reduce the defendant's aforementioned forfeiture monetary judgment of

$288,234 by any payment the defendant makes at or before sentencing toward his restitution

obligation, which is described in Paragraph 9 ofthis Plea Agreement. In order for the forfeiture

money judgment to be offset by any restitution payment as described in this paragraph, the

defendant agrees that the restitution payment must be either paid to the Clerk of Court at least

seven days prior to sentencing or at the time of sentencing via a certified check or cashier's

check.


         The defendant further agrees to waive all interest in the asset(s) in any administrative or

judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

consent to the entry of orders offorfeiture for such property and waives the requirements of

Federal Rules of Criminal Procedure 32.2 and 43(a)regarding notice ofthe forfeiture in the

charging instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe

forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

the forfeiture ofthe property sought by the government.

         In addition, if restitution is ordered as part ofthe sentence and in the event the defendant

submits a financial affidavit to the U.S. Attorney's Office and the U.S. Attorney's Office

determines in its sole discretion that the defendant meets the criteria for restoration under the

restoration policy ofthe Money Laundering and Asset Recovery Section("MLARS")ofthe U.S.

Department of Justice, including an inability to pay both restitution and forfeiture, the U.S.

Attorney's Office will submit a restoration request to MLARS that any amount obtained through

forfeiture to be applied towards any restitution ordered. If, however,the U.S. Attorney's Office

determines in its sole discretion that the defendant does not meet those criteria, the U.S.
Attorney's Office shall be under no obligation to make any such request. The defendant further

understands that MLARS,which is not bound by this agreement, retains ultimate discretion

regarding whether to grant or deny any restoration request. Moreover,the defendant

acknowledges that a defendant has no right to an offset against restitution for any property

forfeited. United States v. Blackman,746 F.3d 137(4th Cir. 2014), and agrees not to challenge

any decision made by the U.S. Attorney's Office or MLARS with respect to any decision with

respect to any restoration recommendation. The defendant also agrees not to request that the

Court reduce or otherwise offset any forfeiture order entered by the amount of restitution ordered

or any restitution order entered by the amount of any forfeiture ordered.

        11.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner (including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct and

substitute assets for property otherwise subject to forfeiture.

        12.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

        Upon request by the government,the defendant agrees to identify all assets in which the

defendant had any interest or over which the defendant exercises or exercised control, directly or
indirectly, within the past 1 years from the date of the defendant's signature on this Plea

Agreement. The defendant agrees to take all steps as requested by the United States to obtain

from any other parties by any lawful means any records of assets owned at any time by the

defendant. The defendant agrees to undergo any polygraph examination the United States may

choose to administer concerning such assets and to provide and/or consent to the release ofthe

defendant's tax returns for the previous five years. The defendant understands that the proceeds

ofthe offense(s) are subject to forfeiture and cannot be used for any purpose, to include

attorney's fees and living expenses.

       13.     Impact of Guilty Plea on Immigration or Citizenship Status

       The defendant recognizes that pleading guilty may have consequences for defendant's

immigration status, if defendant is not a citizen of the United States, or for defendant's

citizenship status, if defendant is a naturalized citizen. Under federal law, a broad range of

crimes are removable offenses, including offenses that qualify as aggravated felonies, crimes

involving moral turpitude, and conduct involving controlled substances and firearms, among

many other categories of criminal activity. Likewise, if defendant is a naturalized citizen,

defendant acknowledges that certain convictions, which may include defendant's conviction,

may expose defendant to denaturalization under federal law. Because removal, denaturalization,

and other immigration consequences are the subjects of a separate proceeding, defendant

understands that no one, including defendant's attorney, the U.S. Attorney's Office, or the U.S.

District Court, can predict to a certainty the effect of defendant's conviction on defendant's

immigration or citizenship status. Defendant nevertheless affirms that defendant knowingly and

voluntarily agrees to plead guilty regardless of any present or future immigration consequences




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that defendant's plea may entail, even if the consequence is defendant's automatic removal from

the United States or denaturalization followed by automatic removal from the United States.

        14.    Breach of the Plea Agreement and Remedies

       This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at

the date and time scheduled with the Court by the United States (in consultation with the

defendant's attorney). If the defendant withdraws from this agreement, or commits or attempts

to commit any additional federal, state, or local crimes, or intentionally gives materially false,

incomplete, or misleading testimony or information, or otherwise violates any provision ofthis

agreement,then:

                       a.     The United States will be released from its obligations under this
                       agreement. The defendant, however, may not withdraw the guilty plea
                       entered pursuant to this agreement.

                       b.      The defendant will be subject to prosecution for any federal
                       criminal violation, including, but not limited to, perjury and obstruction of
                       justice, that is not time-barred by the applicable statute of limitations on
                       the date this agreement is signed. Notwithstanding the subsequent
                       expiration ofthe statute of limitations, in any such prosecution, the
                       defendant agrees to waive any statute-of-limitations defense.

                       c.      Any prosecution, including the prosecution that is the subject of
                       this agreement, may be premised upon any information provided, or
                       statements made, by the defendant, and all such information, statements,
                       and leads derived therefrom may be used against the defendant. The
                       defendant waives any right to claim that statements made before or after
                       the date of this agreement, including the Statement of Facts accompanying
                       this agreement or adopted by the defendant and any other statements made
                       pursuant to this or any other agreement with the United States, should be
                       excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                       the Sentencing Guidelines, or any other provision ofthe Constitution or
                       federal law.

       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall



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be admissible and at which the moving party shall be required to establish a breach ofthis Plea

Agreement by a preponderance ofthe evidence.

        15.    Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents

filed with the Court, to cause the defendant to plead guilty. Any modification ofthis Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.


                                          Raj Parekh
                                          Acting United States Attorney

                                    By:
                                          Kimberly M. Shartar
                                          Jamar K. Walker
                                          Assistant United States Attorneys




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       Defendant's Signature: I hereby agree that I have consulted with my attorney and fliiiy
understand all rights with respect to the pending criminal Information. Further, I fully
understand all rights with respect to 18 U.S.C. § 3553 and the provisions ofthe Sentencing
Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
reviewed every part of it with my attorney. I understand this agreement and voluntarily agree to
it.



 Date: ^]]^ j?^]                                 J/ukrUJ
                                              ANDREW ALEXANDER TEZNA


         Defense Counsel's Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending Information.
Further, I have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part ofthis Plea Agreement with the defendant. To my knowledge, the
defendant's decision to enter into this agreement is an informed and voluntary one.


 Date:
                                                ffense Counsel Name
                                               'ounsel for the Defendant




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